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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   JEREMIAH POSEY,                                  No. 1:16-cv-01322 AWI-BAM

13                                         Plaintiff, ORDER ENTERING STIPULATED
                                                      DISMISSAL WITH PREJUDICE
                    v.
14                                                    PURSUANT TO Fed. R. Civ. P.
                                                      41(a)(1)(A)(ii)
15   EQUIFAX INC.; EXPERIAN
     INFORMATION SOLUTIONS, INC.;
16   and TRANS UNION,
17                                      Defendant.
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           On September 6, 2016, Plaintiff Jeremiah Posey filed the complaint in the Fresno County
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     Superior Court against Trans Union, LLC, Equifax, Inc., and Experian Information Solutions, Inc.
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     Doc. 1-3. Two days later, Defendant Trans Union, LLC the action removed to this court.
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     Doc. 1-1. Trans Union, Experian, and Equifax all filed answers. Docs. 8, 9, 11. On October 26,
22
     2016, the Trans Union and Plaintiff filed a stipulation for voluntary dismissal Plaintiff’s claims
23
     against Trans Union with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
24
     Doc. 13. According to Federal Rule of Civil Procedure 41(a)(1)(B), such notice operates as a
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     dismissal with prejudice.
26
           Based on the stipulation between Trans Union and Plaintiff, Plaintiff’s claims against Trans
27
     Union are dismissed prejudice. Trans Union is dismissed from this action. The Clerk of the Court
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 1   is respectfully directed to terminate Trans Union as a party. This action proceeds against the

 2   remaining defendants.

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     IT IS SO ORDERED.
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 5   Dated: November 2, 2016
                                                   SENIOR DISTRICT JUDGE
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